Case 1:07-cv-00012-TH Document 50-2 Filed 04/14/08 Page 1 of1PagelID#: 440

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS
BEAUMONT DIVISION

JUDY GAUTHIER, et al 5 C.A. NO. 1:07-CV-00012-TH

Plaintiffs
V. 5 Judge Thad Heartfield
UNION PACIFIC RAILROAD COMPANY, et al

Defendants JURY

ORDER

 

CONSIDERING THE FOREGOING Motion to Dismiss Plaintiffs’ Claim for
Punitive Damages filed by Defendants, Union Pacific Railroad Company, Andrew F.
Granger, Brent Waguespack, Ken Rouse, Jack Mann, and National Railroad Passenger
Corporation d/b/a Amtrak;

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Plaintiffs’ claim for

punitive damages be and is hereby dismissed on the grounds that it is not actionable

under Louisiana law.
